Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 1 of 14




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA


   EDWIN ETIENNE,                             §

                                              §

           Plaintiff,                         §

                                              §

         v.                                   §          CASE NO. 0:21-cv-61339-AHS

                                              §

   CLIENT SERVICES, INC.,                     §

                                              §

           Defendant.                         §




                         DEFENDANT CLIENT SERVICES, INC.’S
                   UNOPPOSED MOTION TO STAY THE CASE PENDING THE
                           EN BANC DECISION IN HUNSTEIN




                                     GOLDEN SCAZ GAGAIN, PLLC
                                     1135 Marbella Plaza Drive
                                     Tampa, Florida 33619



                                     Attorneys for Defendant
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 2 of 14




                                              I.       Introduction

          Plaintiff’s claims mirror those in Hunstein v. Preferred Collection and Management

  Services: the Defendant made an allegedly improper third-party disclosure by using a letter

  vendor to send the Plaintiff a dun letter. Until recently, Hunstein 1 delineated (1) that a violation

  of § 1692c(b) gave rise to a concrete injury in fact under Article III and (2) that a debt collector’s

  transmittal of the consumer’s personal information to its dunning vendor constituted a

  communication “in connection with the collection of any debt” within the meaning of §

  1692c(b). The Eleventh Circuit however has now vacated that ruling and granted en banc

  review. A stay in the instant action is therefore appropriate.

                          II.     Plaintiff’s Claims in the Operative Complaint

                   Plaintiff Edwin Etienne (“Plaintiff”) filed suit against CSI on June 3, 2021, alleging

  a violation section 1692c(b) of the Fair Debt Collection Practices Act (the “FDCPA”). Doc. 1-3.

  More specifically, Plaintiff contends he incurred a “consumer debt,” and in attempting to collect

  the debt, Defendant transmitted Plaintiff’s personal information to a third-party, i.e., a letter

  vendor, who prepared and mailed a letter to the Plaintiff. Id. Plaintiff contends that Defendant’s

  alleged transmission of Plaintiff’s personal information to the Third-Party is an explicit violation

  of § l692c(b) of the FDCPA and relies on Hunstein to support the claim. Id. ¶ 35.


                                III.    Hunstein Background / Procedural History


          As summarized succinctly by the Eleventh Circuit, Hunstein is a Fair Debt Collection

  Practices Act claim, 15 U.S.C. § 1692 et seq. which involved a situation wherein:

                   A debt collector electronically transmitted data concerning a

  1
   On October 28, 2021, the Eleventh Circuit vacated its April 21, 2021, opinion (Hunstein I) and substituted a
  new Opinion (Huntstein II). See, Hunstein v. Preferred Collection & Mgmt. Services, Inc., 17 F.4th 1016 (11th Cir.
  2021), reh'g en banc granted, opinion vacated, 17 F.4th 1103 (11th Cir. 2021).

                                                                                                          Page | 1
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 3 of 14




                 consumer’s debt—including his name, his outstanding balance, the
                 fact that his debt resulted from his son’s medical treatment, and his
                 son’s name—to a third-party vendor. The third-party vendor then
                 used the data to create, print, and mail a “dunning” letter to the
                 consumer. The consumer filed suit alleging that, in sending his
                 personal information to the vendor, the debt collector had
                 violated 15 U.S.C. § 1692c(b), which, with certain exceptions,
                 prohibits debt collectors from communicating consumers’ personal
                 information to third parties “in connection with the collection of
                 any debt.”

  Hunstein v. Preferred Collection & Mgmt. Servs., Inc., 994 F.3d 1341, 1344 (11th Cir.
  2021), opinion vacated and superseded on reh’g, No. 19-14434, 2021 WL 4998980 (11th Cir.
  Oct. 28, 2021).

         At the district court level, the court rejected the consumer’s reading of § 1692c(b) and

  dismissed his case. Hunstein v. Preferred Collection & Mgmt. Services, Inc., 2019 WL 5578878,

  at *2 (M.D. Fla. Oct. 29, 2019), rev’d and remanded, 994 F.3d 1341 (11th Cir. 2021). The

  District Court explained:

                 In the instant case, it appears that Hunstein conflates two communications:
                 (1) Preferred's transmission of information to CompuMail for the purpose
                 of generating a letter to Hunstein; and (2) the actual debt collection letter,
                 that was allegedly transmitted from CompuMail to Hunstein. After careful
                 review, the Court finds that Hunstein does not and cannot allege that
                 Preferred attempted to collect Hunstein’s debt from CompuMail. Rather, it
                 is the second communication – the letter that Hunstein himself received –
                 that had the objective of motivating someone to pay the debt. The fact that
                 the debt collection letter that CompuMail generated and sent would be
                 considered a “communication in connection with the collection of a debt”
                 does not make the transfer of information to CompuMail a communication
                 in connection with the collection of a debt. It simply makes it a
                 communication with a third party. Consequently, the Court finds that the
                 letter sent from Preferred to the mail house does not violate § 1692c(b).

  Id.

         On appeal, the Eleventh Circuit considered, as a threshold matter, whether a violation

  of § 1692c(b) gave rise to a concrete injury in fact under Article III, and, on the merits, whether

  the debt collector’s communication with its dunning vendor was “in connection with the



                                                                                              Page | 2
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 4 of 14




  collection of any debt.” Hunstein I, 994 F.3d 1341. The Court held (1) that a violation of §

  1692c(b) gives rise to a concrete injury in fact under Article III and (2) that the debt collector’s

  transmittal of the consumer’s personal information to its dunning vendor constituted a

  communication “in connection with the collection of any debt” within the meaning of §

  1692c(b). Id.

         The Hunstein defendant thereafter filed a petition for rehearing en banc. Numerous

  amicus curiae briefs were submitted in support of that petition. While the petition was pending,

  the Supreme Court decided Ramirez v. TransUnion, wherein the Supreme Court reconsidered the

  question of what constitutes an “injury in fact” under Article III, five years after its significant

  holding in Spokeo, Inc. v. Robins, 136 S. Ct. 1540. TransUnion LLC v. Ramirez, No. 20-297,

  2021 WL 2599472, at *1 (U.S. June 25, 2021). The Supreme Court held that “[o]nly plaintiffs

  concretely harmed by a defendant’s statutory violation have Article III standing to seek

  damages against that private defendant in federal court.” Id. (emphasis added). And it

  reaffirmed that “Article III standing requires a concrete injury even in the context of a statutory

  violation” and it was not the case that “a plaintiff automatically satisfies the injury-in-fact

  requirement whenever a statute grants a person a statutory right and purports to authorize that

  person to sue to vindicate that right.” Id. In fact, the Supreme Court made clear: “[a]n injury in

  law is not an injury in fact.” Id.

         The Ramierz opinion contained an important and relevant footnote addressing the

  plaintiff’s argument that “TransUnion ‘published’ the class members’ information internally—

  for example, to employees within TransUnion and to the vendors that printed and sent the

  mailings that the class members received.” Id. at 2210, fn. 6. In that footnote, Justice

  Kavanaugh—writing for the Court—held that that argument had been forfeited and in any event



                                                                                                Page | 3
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 5 of 14




  was “unavailing” because:

                 Many American courts did not traditionally recognize intra-
                 company disclosures as actionable publications for purposes of the
                 tort of defamation. Nor have they necessarily recognized
                 disclosures to printing vendors as actionable publications.
                 Moreover, even the plaintiffs’ cited cases require evidence that the
                 defendant actually “brought an idea to the perception of another,”
                 and thus generally require evidence that the document was actually
                 read and not merely processed. That evidence is lacking here. In
                 short, the plaintiffs’ internal publication theory circumvents a
                 fundamental requirement of an ordinary defamation claim—
                 publication—and does not bear a sufficiently “close
                 relationship” to the traditional defamation tort to qualify for
                 Article III standing.

  Id. (emphasis supplied).

         In October 2021, the Eleventh Circuit reconsidered its Hunstein decision, vacated its

  prior opinion and substituted a new one in its place. See, Hunstein v. Preferred Collection &

  Mgmt. Services, Inc., 17 F.4th 1016 (11th Cir. 2021) (Hunstein II). In a 2-1 decision, the

  Eleventh Circuit essentially stood by its prior ruling holding that Hunstein had Article III

  standing since he alleged “an intangible-but-nonetheless-concrete injury, including one resulting

  from a statutory violation.” Id. The Court decided that the harm Hunstein alleged was similar in

  kind to the common-law tort of public disclosure of private facts.” Id. And that Hunstein’s

  claims—“that the debt collector, [] ‘disclosed’ what he calls ‘sensitive medical information’,

  including his minor son’s name and prior medical treatment, to ‘the employees of an

  unauthorized third-party mail house’” amounted to an assertion that “some measure of disclosure

  in fact occurred.” Id.

         The Eleventh Circuit then examined Hunstein’s FDCPA claim—with the lone question

  being was whether the debt collector’s communication with the mail vendor was “in connection

  with the collection of any debt,” and thus implicates § 1692c(b). Relying on the plain language



                                                                                               Page | 4
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 6 of 14




  of the statute and dictionary definitions of terms used, the Eleventh Circuit determined that “[i]t

  seems to us inescapable that [the debt collector’s] communication to [the mail vendor] at least

  ‘concerned,’ was ‘with reference to,’ and bore a ‘relationship [or] association’ to its collection of

  Hunstein’s debt.” Id. In short, the Eleventh Circuit declared that “Hunstein has alleged a

  communication ‘in connection with the collection of any debt’ as that phrase is commonly

  understood.” Id.

          A few weeks later, on November 17, 2021, the Eleventh Circuit abruptly entered an

  Order stating: “a majority of the judges of this Court” voted to re-hear Hunstein en banc. See

  Hunstein v. Preferred Collection & Mgmt. Services, Inc., 17 F.4th 1103, 1104 (11th Cir. 2021).

  The Court then vacated Hunstein II. Id.

                                          IV.     Legal Standard

          The Court has broad discretion to stay “for good cause shown”. Fed. R. Civ. P. 26(c);

  Clinton v. Jones, 520 U.S. 681, 706-07 (1997) (citing Landis v. N. Am. Co., 299 U.S. 248, 254

  (1936)); accord Ortega Trujillo v. Conover & Co. Commc'ns, Inc., 221 F.3d 1262, 1264 (11th

  Cir. 2000); See also, e.g., Pierre’s Resort LC v. Interstate Management Co., Inc., 2009 WL

  395788, *1 (M.D. Fla. 2009). Nearly 75 years ago the United States Supreme Court recognized

  the inherent power of district courts “to stay proceedings in one suit until the decision of

  another” in furtherance of the fair and efficient administration of justice. Landis v. N. Am. Co.,

  299 U.S. 248 (1936). Justice Cardozo explained “the power to stay proceedings is incidental to

  the power inherent in every court to control the disposition of causes on its docket with economy

  of time and effort for itself, for counsel, and for litigants.” Id. at 254.

          This court has discretion to grant a stay based on a variety of circumstances pending final

  resolution of Hunstein. See, Advanced Bodycare Solutions, LLC v. Thione Int'l, Inc., 524 F.3d



                                                                                                 Page | 5
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 7 of 14




  1235, 1241 (11th Cir.2008) (“[D]istrict courts have inherent, discretionary authority to issue

  stays in many circumstances.”). “A stay is authorized simply as a means of controlling the

  district court's docket and managing cases before the district court.” Postel Indus., Inc. v. Abrams

  Group Const., L.L.C., 6:11-CV-1179-ORL-28, 2013 WL 1881560, at *3 (M.D. Fla. 2013),

  report and recommendation adopted, 6:11-CV-1179-ORL-28, 2013 WL 1881556 (M.D. Fla.

  2013).

           “[A]wait[ing] a federal appellate decision that is likely to have a substantial or controlling

  effect on the claims and issues” in the pending lawsuit is “at least a good [reason], if not an

  excellent one” to stay an action. Miccosukee Tribe of Indians of Florida v. S. Florida Water

  Mgmt. Dist., 559 F.3d 1191, 1198 (11th Cir. 2009); see also, Owens-Benniefield v. Nationstar

  Mortgage LLC, 2017 WL 1426720, at *2 (M.D. Fla. Apr. 21, 2017) (“Federal courts routinely

  exercise their power to stay a proceeding where a pending decision in another court would ‘have

  a substantial or controlling effect on the claims and issues in the stayed case.’”); Zia v.

  CitiMortgage, Inc., 2016 WL 1230597, at *2 (S.D. Fla. Mar. 22, 2016). “The parties [in the

  appellate matter] need not be the same or the issues identical to empower a court to stay a

  proceeding.” Morrissey v. Subaru of Am., Inc., 2015 WL 4512641, at *2 (S.D. Fla. July 24,

  2015).

                                            V.      Argument

     1. This court should stay this case pending a final decision being enter by the Hunstein
        en banc panel.

           A stay of this case is warranted because Defendant otherwise may suffer irreparable

  injury. A stay will also preserve the parties’ and the court’s resources insofar as, if the Eleventh

  Circuit rules in the Hunstein defendant’s favor or determines Article II jurisdiction is lacking,

  this case must be dismissed. The court and the parties will therefore benefit from avoiding waste

                                                                                                Page | 6
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 8 of 14




  and the expense of significant discovery by tabling the proceedings. Here, as will be

  demonstrated below, the pertinent factors undoubtedly favor a stay of this case because the

  forthcoming en banc decision will have a controlling effect on any and all Hunstein type Article

  III standing issues, and potentially the merits of this Plaintiff’s underlying FDCPA claim(s).

          To be sure, a court “has broad discretion to stay proceedings as an incident to its power to

  control its own docket.” Clinton v. Jones, 520 U.S. 681, 706-07 (1997) (citing Landis v. N. Am.

  Co., 299 U.S. 248, 254 (1936)). Where “a federal appellate decision ... is likely to have

  substantial or controlling effect on the claims and issues,” a stay may be warranted. Miccosukee

  Tribe, 559 F.3d 1197. “The proponent of a stay bears the burden of establishing its need” (Jones,

  520 U.S. at 708), and “must make out a clear case of hardship or inequity in being required to go

  forward, if there is even a fair possibility that the stay for which he prays will work damage to

  some one [sic] else,” Landis, 299 U.S. at 255.

          In evaluating a stay request, courts are to consider four factors: (1) “whether the stay

  applicant has made a strong showing that he is likely to succeed on the merits”; (2) “whether the

  applicant will be irreparably injured absent a stay”; (3) whether issuance of the stay will

  substantially injure other interested parties; and (4) “where the public interest lies.” Nken v.

  Holder, 556 U.S. 418, 434 (2009) (punctuation omitted). The first two factors of the traditional

  standard are the most critical: the applicant must show “more than the mere possibility” that it

  will succeed on the merits or that it will suffer irreparable injury if the stay is not granted.

  Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1317 (11th Cir. 2019).

          The fact that a rehearing en banc has been granted shows the magnitude of the issues

  before the Eleventh Circuit in Hunstein. For instance, Federal Rule of Appellate Procedure 35

  indicates this significance as it states:



                                                                                                 Page | 7
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 9 of 14




                 [a]n en banc hearing or rehearing is not favored and ordinarily will
                 not be ordered unless (1) en banc consideration is necessary to
                 secure and maintain uniformity of the court’s decisions; or (2) the
                 proceeding involves a question of exceptional importance.

  Fed. R. App. P. 35(a).

         Similarly, the Eleventh Circuit Local Rule echoes:

                 A petition for en banc consideration, whether upon initial hearing
                 or rehearing, is an extraordinary procedure intended to bring to the
                 attention of the entire court a precedent-setting error of exceptional
                 importance in an appeal or other proceeding, and with specific
                 reference to a petition for en banc consideration upon rehearing, is
                 intended to bring to the attention of the entire court a panel opinion
                 that is allegedly in direct conflict with a precedent of the Supreme
                 Court or of this circuit. Alleged errors in a panel’s determination of
                 state law, or in the facts of the case (including sufficiency of the
                 evidence), or error asserted in the panel’s misapplication of the
                 correct precedent to the facts of the case, are matters for rehearing
                 before the panel but not for en banc consideration.

  11th Cir. R. 35-3.

         To be sure, Hunstein I sent shockwaves through the debt collection industry. And

  Hunstein II did nothing but further muddy the waters given Judge Tjoflat’ s stinging dissent. The

  Eleventh Circuit though—apparently recognizing the gravity of the issues present in Hunstein—

  took the usual step of sua sponte issuing an Order vacating Hunstein II in favor of an en banc

  review if the case.

         If a stay isn’t granted here, Defendant will suffer irreparable harm. One such harm

  Defendant would face is being required to expend valuable resources (time and money) to defend

  itself in a case where its defense might ultimately end up pointless—should the en banc panel

  rule contrary to the vacated decision(s). Initially, the en banc panel will need to tackle the

  question of Article III standing. The vacated Hunstein II ruling showed a divided panel

  vigorously defending their positions on Article III jurisdictional standing. This “standing” debate



                                                                                               Page | 8
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 10 of 14




   stemmed, in part, from the Supreme Court’s decision last June in TransUnion LLC v. Ramirez,

   wherein the Supreme Court revisited the issue of what constitutes an “injury in fact” under

   Article III—five years after its significant holding in Spokeo, Inc. v. Robins. See, TransUnion,

   141 S. Ct. 2190 (2021).

           Judge Tjoflat in fact changed his opinion in Hunstein II based—at least in part—on

   Footnote 6 in TransUnion directly referencing mail vendors and intra-company disclosures in the

   Article III context:

                   For the first time in this Court, the plaintiffs also argue that
                   TransUnion “published” the class members’ information
                   internally—for example, to employees within TransUnion and to
                   the vendors that printed and sent the mailings that the class
                   members received. That new argument is forfeited. In any event, it
                   is unavailing. Many American courts did not traditionally
                   recognize intra-company disclosures as actionable publications for
                   purposes of the tort of defamation. Nor have they necessarily
                   recognized disclosures to printing vendors as actionable
                   publications. Moreover, even the plaintiffs’ cited cases require
                   evidence that the defendant actually “brought an idea to the
                   perception of another,” and thus generally require evidence that the
                   document was actually read and not merely processed . . . That
                   evidence is lacking here. In short, the plaintiffs’ internal
                   publication theory circumvents a fundamental requirement of an
                   ordinary defamation claim—publication—and does not bear a
                   sufficiently “close relationship” to the traditional defamation tort to
                   qualify for Article III standing.

   TransUnion, 141 S. Ct. at 2210, fn. 6.

           This footnote at least suggests that the use of a mail vendor does not qualify as a

   disclosure. And it is worth noting that the Supreme Court specifically identified mail vendors—

   the type of third-parties allegedly involved here—while addressing examples of internal

   ‘publications.’ While the quoted language from Ramirez is dicta, the majority in Hunstein

   II acknowledged that “there is dicta and then there is dicta, and then there is Supreme

   Court dicta.” Hunstein II, 17 F.4th at 1031. Yet found that the “Supreme Court dicta” in

                                                                                                 Page | 9
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 11 of 14




   TransUnion "doesn't control here.” Id. So the en banc panel must now determine—with Ramirez

   in mind—whether the Hunstein plaintiff has alleged facts supporting the existence of a concrete

   injury that imbues federal courts with the power to hear Hunstein-type claims.

          And if the Court finds standing, it will then need to address whether the debt collector’s

   transmission of certain data to a vendor states a viable cause of action under § 1692c(b).

   Interestingly, it appears that the Consumer Financial Protection Bureau (CFPB), the agency with

   oversight authority on the debt collection industry, may have been caught off guard by the

   holding.

          The CFPB implemented its long-awaited Regulation F on November 21, 2021. See, 12

   CFR Part 1006. In 2016, the CFPB issued the results of a study it completed on the debt

   collection industry. See,

   https://files.consumerfinance.gov/f/documents/20160727_cfpb_Third_Party_Debt_Collection_O

   perations_Study.pdf. According to the study, “most” of the debt collectors that participated in the

   study “used an outside vendor for sending written communications.” Ibid. Yet the CFPB hasn’t

   implemented a rule as part of Regulation F prohibiting the practice of using letter vendors. One

   comment in fact expressly contemplates debt collectors using mail vendors, stating:

                  a debt collector may disclose a vendor’s mailing address, if that is
                  an address at which the debt collector accepts disputes and requests
                  for original-creditor information. As one commenter observed,
                  some debt collectors may use a vendor to receive mail from
                  consumers.

   https://www.federalregister.gov/d/2020-28422/p-492

          This allowance is at odds with the idea that using a mail vendor violates the Act.

          Should this case proceed and the Eleventh Circuit rule during its pendency in a manner

   that requires dismissal, any money spent by the Defendant defending the case will not be lost and



                                                                                            Page | 10
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 12 of 14




   will have been economic waste. And if the case isn’t stayed, Defendant will be put in a “rock and

   a hard place” situation by being forced to litigate the case or settle for what would likely be an

   amount less that defense costs in the short-term.

          District Judge Roy K. Altman highlighted the waste of judicial resources that occur in

   situations in an order staying a so-called Hunstein case, stating:

                  the equities in this case—in particular, the need to promote judicial
                  economy—strongly favor a stay. . . . Take, for example, the two
                  hypotheticals laid out above. If this Court were to find that the
                  Plaintiff here has established her TCPA standing—and if, after that
                  ruling, Cordoba came out the other way—the Defendant would
                  undoubtedly (and justifiably) move the Court to reconsider its
                  decision, a motion that might come in only after the conclusion of
                  a trial on the merits of this case. On the other hand, if this Court
                  were to conclude that the Plaintiff here lacks standing, the Plaintiff
                  would almost certainly appeal the Court's order entering judgment
                  for the Defendant. And if, in this scenario, Cordoba were to
                  suggest that the Plaintiff here had established her standing under
                  the TCPA, the Eleventh Circuit would be required to reverse this
                  Court's decision and remand the case—now months or years
                  later—so that the Court and the parties could, as it were, do it all
                  over again. The Court agrees with the Plaintiff that waiting a few
                  months for the Eleventh Circuit’s guidance is a small price to pay
                  to avoid this needless parade of horribles.

   Davis v. Post Univ., Inc., 2019 WL 9048995, at *2 (S.D. Fla. Nov. 7, 2019).

          District Court Judge Anne C. Conway in Ruales v. Client Services, Inc, Judge Anne C.

   Conway likewise entered an order staying the case based on the rehearing en banc in Hunstein,

   holding:

                  The Eleventh Circuit Court of Appeals’ resolution of the petition for
                  rehearing en banc in Hunstein, will have a substantial impact on the
                  claims in this case, most notably, on the issue of standing for the
                  statutory violation. In the interest of justice and judicial economy,
                  the Court will stay this action until the Eleventh Circuit’s resolution
                  of the rehearing petition in Hunstein

   Ruales v. Client Services, Inc, Case No. 6:21-cv-1828 (M.D. Fla. Nov. 30, 2021) (courtesy copy



                                                                                              Page | 11
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 13 of 14




   attached).

          As detailed supra, the Eleventh Circuit has held that when a court’s subject matter

   jurisdiction is in question—like it is here--and a highly relevant matter is the subject of a

   rehearing en banc--like it is here--a stay is proper. The Court echoed this sentiment in

   Miccosukee Tribe, stating:

                  In this case… the reason for the district court’s stay was at least a
                  good one, if not an excellent one: to await a federal appellate
                  decision that is likely to have a substantial or controlling effect on
                  the claims and issues in the stayed case.

   Id., 559 F.3d at 1197.

          This same approach was followed by the court in Fridman v. Collection LLC, 2018 WL

   2254570 (S.D. Fla. Mar. 24, 2018) (J. Ungaro). There a plaintiff alleged a defendant violated the

   TCPA by sending a single text message to the plaintiff’s cellular telephone. Id. The defendant

   moved for a stay because the Eleventh Circuit was considering the same question—whether a

   plaintiff has Article III standing under the TCPA after receiving a single text message in Salcedo

   v. Hanna. Id. Judge Ungaro issued a stay, holding: “Resolution of that appeal will determine

   whether Plaintiff here has standing to pursue his claim.” Id.

          Likewise, in Ring v. City of Gulfport, Judge Hernandez Covington—in ruling on a motion

   to stay—decreed that “[t]he Eleventh Circuit has approved of stays pending appellate resolution

   of a related case, especially where the related matter is likely to have a substantial or controlling

   effect on the claims and issues in the stayed case.” Id., 2020 WL 3895435, at *4 (M.D. Fla. July

   10, 2020) (citing, Miccosukee Tribe).

          A stay of the litigation is warranted in this case pending the final disposition of the

   Hunstein en banc review because the decision will have a substantial or controlling effect on the

   claims presented in this case. Thus, this court should find that it’s not only in the parties’ and

                                                                                               Page | 12
Case 0:21-cv-61339-AHS Document 17 Entered on FLSD Docket 12/15/2021 Page 14 of 14




   court’s interest to grant a stay here, but in the public’s as well. Hunstein will likely establish

   precedent on Article III jurisdiction in similar cases. It therefore makes little sense to allocate the

   court’s scare resources to furthering a case that it may have no power to do so.

                                                VI.     Conclusion

             Hunstein has been vacated. The forthcoming en banc panel rehearing will almost

   certainly determine whether a Hunstein-type plaintiff has Article III jurisdictional standing. And

   the Court could also rule on whether sending information to a third-party vendor is

   “communication” subject to § 1692c(b). It therefore makes good sense to conserve the resources

   of this court, as well as the parties, by staying this case pending resolution of the en banc review

   in Hunstein.

                                 Certificate of Good Faith Conference

             Pursuant to Local Rule 7.1a(3), the undersigned conferred with Plaintiff’s counsel

   concerning the instant motion and has been advised that Plaintiff does not oppose the relief sought

   herein.


   This the 15th day of December 2021


                                                          Respectfully submitted by:

                                                           /s/ Sangeeta Spengler
                                                          Sangeeta Spengler Esq.
                                                          Florida Bar No.: 0186864
                                                          GOLDEN SCAZ GAGAIN, PLLC
                                                          1135 Marbella Plaza Drive
                                                          Tampa, Florida 33619
                                                          Phone: (813) 251-5500
                                                          Fax: (813) 251-3675
                                                          spspengler@gsgfirm.com
                                                          Counsel for Defendant




                                                                                                Page | 13
